     Case: 1:19-cv-05744 Document #: 51 Filed: 11/08/19 Page 1 of 1 PageID #:3484




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GOLD’S GYM LICENSING LLC,
                                                   Case No. 19-cv-05744
              Plaintiff,
                                                   Judge Jorge L. Alonso
v.
                                                   Magistrate Judge Sunil R. Harjani
3D ORIGINAL DESIGN STORE STORE, et
al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gold’s Gym

Licensing LLC’s (“Gold’s Gym” or “Plaintiff”) hereby dismisses this action with prejudice as to

the following Defendants:

             Defendant Name                                          Line No.
             MichaelMija Store                                          19
              YuanBo Store                                             183

Dated this 8th day of November 2019.       Respectfully submitted,


                                           /s/ Allyson M. Martin
                                           Amy C. Ziegler
                                           Justin R. Gaudio
                                           Allyson M. Martin
                                           Greer, Burns & Crain, Ltd.
                                           300 South Wacker Drive, Suite 2500
                                           Chicago, Illinois 60606
                                           312.360.0080
                                           312.360.9315 (facsimile)
                                           aziegler@gbc.law
                                           jgaudio@gbc.law
                                           amartin@gbc.law

                                           Counsel for Plaintiff Gold’s Gym Licensing LLC
